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                            IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA

UNITED STATES OF AMERICA,

               Plaintiff,
                                                     No. 2:07-cr-80-CRW-PAL
 vs.

MICHAEL JENKINS,

               Defendant.

               The court grants defendant Jenkins’ motion for order shortening time.

               On or before February 23, 2011, the plaintiff United States of America shall file a

response to the motion of Michael Jenkins for bail pending appeal.

               Hearing on the motion for bail pending appeal will be held by telephone

conference call the court will place to counsel at 9:30 a.m. PST on February 24, 2011. Defendant

Jenkins may participate in the phone conference call if his counsel advises the court about the

number where he may be reached. The court will provide a court reporter for the telephone

conference call.

               IT IS SO ORDERED.

               Dated this 17th day of February, 2011.
